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                    Exhibit 1
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            ADDENDUM TO SETTLEMENT AGREEMENT AND RELEASE

       This is an Addendum to the Settlement Agreement and Release (the “Agreement”) entered
into by and between Felipe Kelly (“Plaintiff”), individually and on behalf of a class he seeks to
represent, and Brooklyn Events Center, LLC d/b/a Barclays Center, Levy Premium Foodservice
Limited Partnership (“Levy”) and Professional Sports Catering LLC (collectively, “Levy” or
“Defendants,” together with Plaintiff, the “Parties”).

        WHEREAS, on August 21, 2018, the Parties entered into the Agreement to resolve a class
action lawsuit filed in the United States District Court for the Eastern District of New York,
captioned Kelly v. Brooklyn Events Center, LLC d/b/a Barclays Center, et al., 17-cv-04600;

      WHEREAS, on September 12, 2018, Plaintiff filed an unopposed motion for Preliminary
Approval of the Settlement (ECF No. 30);

        WHEREAS, on September 25, 2018, Magistrate Judge Roanne Mann held a telephonic
court conference with the Parties to discuss the Settlement, and raised certain issues with the
Parties with respect to the Agreement (ECF No. 34);

        WHEREAS, the Parties thereafter met and conferred to address the issues raised by the
Court, resulting in this Addendum;

        NOW THEREFORE, in consideration of the mutual covenants and promises set forth in
the Agreement, as well as the good and valuable consideration provided for therein, the Parties
hereto agree to the following terms and conditions:
       Section 4.2(D) of the Agreement is hereby amended as follows:
       Any Class Member who does not properly submit an Opt out Statement pursuant to this
       Agreement will be deemed to have accepted the Settlement and the terms of this
       Agreement, and will be eligible to participate as a Tier One, Two, or Three Class Member
       as set forth in this Agreement. Any Class Member who opts out under this Section will
       not be entitled to class member relief. Any Class Member who fails to submit a Claim
       Form in accordance with Section 4.1(D) of this Agreement will not be eligible for Tier
       Two or Three class member relief.

       Section 4.3(A) of the Agreement is hereby amended as follows:
       Class Members who wish to present objections to the proposed Settlement at the Fairness
       Hearing must first do so in writing. To be considered, such statement must be e-mailed to
       the Settlement Administrator or mailed to the Settlement Administrator via First-Class
       mail, postage prepaid, and be received by the Settlement Administrator by a date certain
       forty-five (45) days after the Claims Administrator mails a Notice to such Class Member.
       The statement must include all reasons for the objection; and any reasons not included in
       the statement will not be considered. The statement must also include the name, address,
       e-mail(s), and telephone number(s) for the Class Member making the objection. If received
       by e-mail, the Settlement Administrator will forward the email to Class Counsel and


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          Defendant’s Counsel as soon as received. If received by First Class mail, the Settlement
          Administrator will stamp the date received on the original and send copies of each
          objection to Class Counsel and Defendant’s Counsel as soon as they are received. The
          final list will be submitted by Plaintiff, with redaction of any personal identifying
          information, along with the declaration of the Settlement Administrator attached to the
          Final Approval Motion.

          Section 5.1 of the Agreement is hereby amended as follows:
          Release of Class Member Claims. By operation of the entry of Final Approval, and
          except as to such rights or claims as may be created by this Agreement, each Class Member
          shall release Levy Premium Foodservice Limited Partnership, Brooklyn Events Center,
          LLC d/b/a Barclays Center, and Professional Sports Catering LLC from all claims,
          demands, causes of action, and liabilities, known and unknown, that he/she had, have, or
          may have under any legal or equitable theory, against these entities arising from or relating
          to or concerning his/her denial of employment by Levy Premium Foodservice Limited
          Partnership in connection with his/her criminal history under the NYCHRL, the Correction
          Law, FCRA, NY FCRA, and Title VII, including any right to recover any and all available
          damages, attorneys’ fees and costs. 1 Defendants represent that this Class Release is not
          intended to and does not release claims of plaintiffs or class members (potential or
          certified) in Brooks v. Barclays Center, No. 17 Civ. 4186 (E.D.N.Y.). 2

WE AGREE TO THESE TERMS,

Dated:     New York, New York
           October 1, 2018


    By: /s/ Frederick T. Smith                         By: /s/ Ossai Miazad
        SEYFARTH SHAW LLP                                  OUTTEN & GOLDEN LLP
        Frederick T. Smith                                 Ossai Miazad
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                                                           Tel.: (212) 245-1000
        Gina Merrill
        620 Eighth Avenue                                  YOUTH REPRESENT
        New York, New York 10018                           Michael Pope

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        Here, for the avoidance of doubt, the parties agree that Levy Premium Foodservice
Limited Partnership (and not the other two entities) was the decision maker responsible for hiring
decisions that are the subject of the Litigation and would have been the employer of Plaintiff and
the putative class. Class Members are therefore not releasing claims relating to applications for
employment, if any, at either Brooklyn Events Center, LLC d/b/a Barclays Center or
Professional Sports Catering LLC, which are not the subject of the Litigation.


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                                           Settlement Class




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